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ll\l THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

C§Vil Actiozi No. l:lZ-ev-OZUOQ-WJM~CBS
STEVE BURTON
Plaintiff,

V.

UNETED STATES OF AMERICA
CHA.RLES SCHOEPHOERSTER, P.A.
K.EITH BAKER, l\/l.§).

CALVIN POLLAND, D.O.

Det`endants,

 

STIPULATED MOTION TO DISMISS THE lNDIVIDUAL DEFENDANTS AND
AMENI) THE CAPTION

 

P]aintit`t`, by and through his undersigned eounsel, and Det`endant United States, by and
through its undersigned eounsel, hereby stipulate to dismiss Charles Sehoep]ioerster, P.A., Keith
Bal<er, i\/I.D. and Calvin Polland, D.O. as these individuals Were either personal service
contractors or employees of the United States, and therefore, the only proper Det`endant is the
United States.

WHEREFORE, the parties request that the individual Det`endants be dismissed and the
caption of this matter be amended

DAr§o this 5*h day @i‘Juiy 20i3.

SCHOENWALD & THOMPSON LLC JO.HN F. WALSH
UNITED STATES ATTORNEY

S/ Ju/in T. ]`/iori-t;)son
Julia T. Thonipson, # 25897 s/iMar/c S_ Pestal
lSQO Gaylord Street Assistant U.S. Attorney

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